 Case 1:13-cv-05059-JBW-SMG Document 82 Filed 07/10/15 Page 1 of 1 PageID #: 533


                                    DATE



BEFORE JUDGE      WEINSTETN                                 AT

C/ R     i4.. /j owv 4K--A~                                 C/D           Jane. P.   Lowe.



                                    CIVIL CAUSE

                                    ON TRIAL



Docket     # CV135059

Title NIKI HERNANPEZ--APAMS e.tanO                   vs   MARK KIMPSON


Appearances: For Pltff.        STEPHEN CANTOR/STEVEN FRANKEL
                   For Deft.    ROGER ARCHIBALV

                  Other ____________________________________________________________



   XX          Case called..
   XXX         All parties present.

               Trial                  resumed'.--

               Trial continued to                             at_________________________

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